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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

 LISA BARBOUNIS                               :
                                              :
                        Plaintiff,            :
 -vs-                                         :   CIVIL ACTION NO. 2:19-cv-05030-JDW
                                              :
 THE MIDDLE EAST FORUM,                       :
 DANIEL PIPES (individually),                 :
 GREGG ROMAN (individually), and              :
 MATTHEW BENNETT (individually)               :
                                              :
                        Defendants.           :

                    JOINT STIPULATION FOR DEPOSITION DATES

        Pursuant to this Court’s January 13, 2021 Order (ECF No. 104), Plaintiff Ms. Lisa

Barbounis (“Ms. Barbounis” or “Plaintiff”) and Defendants The Middle East Forum (“MEF”)

and Mr. Gregg Roman (“Mr. Roman”) (“Defendants”) submit the following Joint Stipulation

Setting Forth Deposition Dates. Plaintiff and the following witnesses, represented by Plaintiff’s

counsel, will have their re-opened depositions held as follows:

        Ms. Caitriona Brady, February 2, 2021;

        Ms. Delaney Yonchek, February 2, 2021;

        Ms. Tricia McNulty, February 5, 2021; and

        Plaintiff Ms. Lisa Barbounis, February 9, 2021.




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                                      Respectfully submitted,


Dated: January 15, 2021               COZEN O’CONNOR

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